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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No. 22-178 SRN/DTS

 UNITED STATES OF AMERICA,

                      Plaintiff,
                                             GOVERNMENT’S MOTION FOR
        v.                                   DISCOVERY PURSUANT TO FEDERAL
                                             RULES OF CRIMINAL PROCEDURE
 DEVEON MARQUISE BRANCH,                     16(b), 12.1, 12.2, 12.3 AND 26.2

                      Defendant.


       The United States of America, by and through its attorneys, Andrew M. Luger,

United States Attorney for the District of Minnesota, and Samantha H. Bates, Assistant

United States Attorney, hereby moves the Court:

       A.     For its order requiring Deveon Marquise Branch, the above-named defendant

(hereinafter defendant), pursuant to Rule 16(b) of the Federal Rules of Criminal Procedure

to disclose and to permit inspection and copying of the following:

              1.     Documents and Tangible Objects: All books, papers, documents,

photographs, tangible objects, or copies or portions thereof, which are within the

possession, custody, or control of the defendant and which the defendant intends to

introduce as evidence in chief at the trial of the above captioned matter.

              2.     Reports of Examinations and Tests: All results and reports of physical

or mental examinations and of scientific tests or experiments made in connection with the

above captioned matter, or copies thereof, within the possession or control of the defendant,

which the defendant intends to introduce as evidence in chief at the trial of the above
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captioned matter or which were prepared by a witness whom the defendant intends to call

at trial.

                3.    Expert Testimony: A written summary of testimony the defendant

intends to use under Rules 702, 703 and 705 of the Federal Rules of Evidence as evidence

at trial. This summary must describe the opinions of the witnesses, the bases and reasons

therefore, and the witnesses’ qualifications. There is no specific timing requirement

included in Rule 16(a)(1)(G). However, the Advisory Committee’s Note provides that “it

is expected that the parties will make their requests and disclosures in a timely fashion.”

Fed. R. Crim. P. 16 Advisory Committee’s Note, 1993 Amendments. The government

respectfully requests that the Court order that expert disclosures for both parties, if any, be

made 20 days before trial.

        Such a timing requirement allows the parties sufficient notice of the expected

testimony and time to prepare a focused cross-examination of the expert. See id. Such an

order would also provide the opposing party ample time to obtain a rebuttal expert and

prepare a rebuttal report in advance of trial. Accordingly, the government also requests

that any rebuttal experts be noticed, and any rebuttal expert disclosures be produced to the

opposing party, no later than 10 days before trial.

        B.      Alibi: For its order pursuant to Rule 12.1 of the Federal Rules of Criminal

Procedure requiring the defendant, if he intends to claim alibi as a defense, to state the

specific place or places at which the defendant claims to have been at the time of the alleged

offenses in the above captioned matter and the names and addresses of the witnesses upon

whom the defendant intends to rely to establish such alibi.
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       C.     Insanity Defense/Mental Illness: For its order pursuant to Rule 12.2 of the

Federal Rules of Criminal Procedure requiring the defendant, if he intends to rely upon the

defense of insanity or introduce expert testimony relating to a mental disease or defect or

any other mental condition of the defendant bearing upon the issue of guilt, to give notice

to the government no later than the date of the first hearing on pretrial motions.

       D.     Public Authority: For its order pursuant to Rule 12.3 of the Federal Rules of

Criminal Procedure requiring the defendant, if he intends to rely upon a defense of actual

or believed exercise of public authority on behalf of a law enforcement agency or federal

intelligence agency at the time of the offense, to give notice to the government and the

Court no later than the date of the first hearing on pretrial motions.

       E.     Witness Statements: For its order pursuant to Rule 26.2 of the Federal Rules

of Criminal Procedure requiring the defendant, to produce all statements in his possession

or control of any witness that the defendant calls in connection with a suppression hearing,

detention hearing, trial, or sentencing.


Dated: August 23, 2022
                                                  Respectfully Submitted,

                                                  ANDREW M. LUGER
                                                  United States Attorney

                                                  s/Samantha H. Bates
                                                  BY: SAMANTHA H. BATES
                                                  Assistant U.S. Attorney




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